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                            UNITED
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                                                                                    JUN p 3 2213
 Sylvester Reid ,                                                                  STEVEN M .LARIMORE
         Petitioner,                                                               CLQRK U s DIST CT.
                                                                                      s D.ofCLX.'
                                                                                                -MAMI
                                                               criminal Action     . ',
VS.                                                            1:96-cR-798-7M

United States Of America ,                                     Civil Action N0:
              Respondent.                                      01-11-CV-Moreno



                                      INDEPENDENT ACTION

        PETITIONERHS MOTION F0R RELIEF FROM THE CIVIL JUDGEMENT RENDERED
  BY THIS COURT.... PURSUANT T0 RPLE 60(B)(4) FEDERAL RULES 0F CIVIL PYOCEDURE
        HONORABLE FREDERICO A. MORENO PNITED STATES DISTRICT COURT JUDGE
                          UNITED STATES DISTRICT COURT
                   SOPTHERN DISTRICT OF FLORIDA MIAMI DIVISION

      Comes   now ,   Sylvester       Reid ,   pro-se        petitioner,   pursuant      to    Rule
60(b)(b)(4). Federal Rules Of Civil Procedure, and respectfully submit this
Motion requesting that this Court vacate the civil Judgement that was rendered
on October 18, 2001, dismissing petitioner's Motion (that was submitted
January 3, 2001,) pursuant to Title 28y U.S.C.,j2255.
     Petftioner asserts and states, that the civil Judgement rendered by this
Court, is Hlegally void'l or otherwise, Hlegally invalid'l in that, ft was
rendered fn total violation of the statutory due process procedure governing
fair dlsposition of a collateral attack under j2255.
     Petitioner further request that this Court will construe the following
pleadings liberally, and afford a11 reasonable inferences to be drawn
therefrom, and hereto.
      (See: Bledsue vs. Johnson 188 F.3d 250-255 (5th Cir. 1999)).
                                  ARGHMENT PM SO
                                  .              '>''it;u-
                                                .1

      The Civfl Judgement rendered by the District Court to deny petitioner's
Motion that was filed pursuant to 28, U.S.C.,j2255.... was tantamount to a
procedural oversight that resulted in an incorrect application of the 1aw ....
surrounding a question of particular interest to petitioner's Motion that the
Court was required to resolve.
      Rule 60(b)(4) is the appropriate legal vehicle in which to present the
argument that's being raised .
      Rule 60(b)(4), Federal Rules Of Civil Procedure, provides, that:
                                                                                    uw        courr
oay relieve a party form a Final Judgements vhen the judgement fs void....
a Judgement is void, where the Court lacked personal or subject matter
jurisdiction, or where the entry of the Order violated due process'o
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     (See: Triad Energy Corp. vs. McNell, 110 FDR. 328 (1986).... M so, Stoll
vs. Gottlilr. 305 U.S. 165 (1938)).
     The right to relief from a.void judgement,         absolute, not within the
Court's dfscretionary power.
     The lJ.S. Supreme Court, in Gonzalez vs. Crosby, 162 L.ed. 2d. 480. 500
(2005), addressed the question as to what legal arguments could be properly
raised in a 6o(b) Motion? The Court pointed out that:
                                                    ''Rule 60(b) applies in
habeas proceedings, only to the extent that (it is) not in consistent wfth
applicable federal statutes and rules .... because, the second or successfve
provfsions of the AEIPA. 28. U.S.C., 52244(b) applfes only where a Court acts
pursuant to a prisoner's habeas corpus applicationy the question here is y
whether a Rule 60(b) Motion is such an application? Noting that, the text of
92244(b) shows that: For these purposesy a habeas applfcation fs a fflïng
containing one or more claa s''.
     Federal habeas statutes and Supreme Court precedents, make clear tiat a
lîclalm'' is an asserted federal basis for relief from a conviction .
     In a 60(b)'Motion contains one or more claims, the Motion is, if not in
substance, a habeas corpus application, it is at least similar enough, that
failing to sublect j.t to AEDPA's restrictions, would totally, be inconsistent
with the statute.                                                '
     The Gonzalez Courts supray at 488, thus held , that :
                                                        ''A Rule 60(b) Motion
can be said to bring a clafmy ff it seeks to add a new ground for relief from
the conviction. or attacks the federal Court's previous resolution of a clafa
on its merfts.... though. not ff it merely attacks a defect in the federal
habeas proceedings integrity'o
     The Court further stated in Gonzalez. Supra, at 492-93, that:
                                                                 uvwe term sm
the merftss has oultiple usages, but we refer to a determination that there
exist. or do not exist, grounds entitlfng a petitioner to habeas corpus
relief''

             TTMELINESS OF THIS MOTION PURSUANT TO RULE 60(b)(4):
     Petitioner's Motion and issue that's b'
                                           eing raised herein , are timely ,
under the provisions of Rule (60)(b)(4), Federal Rules Of Civil Procedure.
     In respect to the Hvoid judgement'' aspect of Rule 60(b)(4), petitioner
does not have an issue with the time element of presenting thfs Motion.
     Reasonable time criterion of this Rule, that governs the setting aside
of void judgements, means ïn effect, no time limitation, since a void judgement
is no judgement at al1.... therefore, Court's that entered a void Judgement,
may vacate that judgement at any time
     (See: Hawkeye Sec. Ins. Co. vs. Portery 95 f.R.D. 417 (D.C. Ind. 1982).
     The District Court has the inherent power to set aside an Order that is
based on the misenterpretation of the law, even when the limits imposed by Rule
60(b) has expired.
     See: Averbach vs. Rival Manufacturing Company, 809 F.2d 1016, 1019 (3rd
Cir.1987)(ku1e 60(b) does not liwit the poler of the Court to entertain an
Independent Actiony to relieve a party from a judgement. Order, or
proceeding.... or to 'set aside a judgeaent. or fraud upon the Court.... thus,
the one-year time 1;=4t in the Rules does not apply to Independent Actfons).


                                      (2)
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                               PROCEDURAL HISTORY

      0n October 1, 1996, a Federal Grand Jury sitting in the U.S. District
Court, Southern District Of Florida, Miami Division.... returned a HTrue Bill''
to a S1x Count Indictment, in which three-counts charged the following
offenses:
        ''Delay and Affecting Coomerce By Robbery in violation of the Hobbs Act,
Title 18s U.S.C..j1915(A)'Q   (Indictment NO: 96-798-CR Moreno)
      0n December 3, 1997, pêtltïoner was found guflty of a11 counts alleged
in the indictment, and was subsequently sentepced on February 18, 1998, to a
prison term of ''55-years'Q followed by z-years Supervised Release.
      An appeal was timely filed in the 11th Circuit Court Of Appeals, that
was affirmed ln September 23, 1999, afflrming both, thé convfction and
sentences.   (Appeal #z 98-4337-HH)
      0n January 3, 2001, petitioner's Motion to Vacate, Set Aside Or Correct
Sentence, pursuant to 28, U.5.6.,92255, was filed by the District Court Clerk
and assfgned to Magistrate Judge Honorablecharlene H. Sorrentino, for a report
and recommendatipn to be submitted to Judge Moreno.
      (C1v11 Actfon #: 01-11-CV-Moreno)
    lssuE RAlsED IN MOTION T0 VACATE SENTENCE PURSVANT T0 28. U.5.6..92255.
      Petitionery in submitting his original Motion to vacate sentence,
pursuant to the provision of 92255, raised the following issues:
                                                               ''(1)s That U.S.C.
91951(A) was unconstitutional for over-breathy based upon the Supreme Court's
decision rendered fn United States vs. Lopezy 514 U.S 549 (1995).
                                .

      (2). Petltioner's convictïons under 18. U.S.C., 59244c) were
jurisdictionally defective.
      (3), The jury instructions as to 18m U.S.C., 91951(A) were
constitutfonally fnadequate.
      (4), The indictment was jurisdictionally defective, because it failed
to specify criminal conduct that was violate of the Robbs Act, 18. U.S.C.,
91951(A)êQ
      On September 19, 2001, Magistrate Judge Sorrentino submitted the Report
and Recommendation to the Court, in which it was recommended that petitioner's
Motion be denied and dismissed.
      0n October 18, 2001, Judge Moreno adopted (in full) the Report and
Recommendation submitted by the Magistrate Judge.... thus, denying and
dismissing petitioner's Motion based upon the findings of facts and conclusions
of law , set out by Magistrate Judge Sorrentino , in the report.
      In the Magistrate Judge's Report and Recommendation, the Magistrate'Judge
went directly to the crux of petitioner's arguments, that centered around the
legal validity of the Hobbs Act, 18, U.S.C..j1951(A), fn light of United States
vs. Lopez, 514 U.S. 549 (1995).
      The Magistrate Judge, pointed-out, that:
                                             ''Petitioner 's reliance upon Lopez,
to attack the Constitutionality of the Hobbs Acty was Hwithout merftsêêy
according to the Eleventh Circuit's rulingsy and a11 other Circuit Court's that
addressed the Hobbs Act issue surrounding LOPEZ'Q
      The Eleventh Circuit, in its holding in Unfted States vs. Castelburyy
116 F.3d 1384 (11th Cir. 1997). beld that:


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        ''Unlfke    the   statue   involved   in    Lopez,   the   Hobbs   Act   contains   a
 jurfsdfctional requirement, that the extortion be connectedy in any way, to
 fnterstate cowmerce''*
      ''Because the Hobbs Act contains this Jurfsdictional element, we continue
 to hold that the Government only needs to establish a minimal effect on
interstate commerce, to support a violation of the Hobbs Actlk
       As is reflective of the record, surrounding                 the issues ralsed by
petitioner in his Motfon to vacate sentence, pursuant to 92255.... petitioner
also attacked the Hconstitutional adequacy'' of the courts instructions, as to
the Hobbs Act. (See: Issue //-3).
       Magistrate Judge Sorrintino , in addressing this issue , found that:
                                                                          uvue ois-
trict Court. instructing the jury as to j1951(A), the Court had properly
instructed the jury that: in addftion to finding the elements for a robbery
under j1951(A)y the jury only needed to find some effect on fnterstate
Cov mer ce :1.

                   PETITIONER 'S ARGUMENT ALONG VITH MEMOQANDUM OF LAV
                   SUBMITTED IN SUPPORT OF HIS REQUEST FOR RELIEF THAT'S
             PURSUANT TO RULE 60(b)(4), FEDERAL RULES OF CIVIL PROCEDURE.
     Petitioner, being a layman of the law, without any training in the legal
scfence    of    interpretating  the   complex    rulings   associated   with
Hprecedencesb'rendered by the Courts... . has always, had to rely upon a
reviewing District Court's Hliberal lnterpretationîbof whatever pleadfng
petitioner had submitted.... as was dïrected by such precedences, as: Haines
vs. Kernery 404 U.S. 519, 30 L.Ed. 2d. 652, 92 S.Ct. 594 (1972); and. Boag vs.
MacDougallp 454 U.S. 364, 70 L.Ed. 2d. 551, 102 S.Ct. 700 (1982).
      As was the case , when petitioner submitted his Motion to vacate sentence ,
pursuant to 28, U.5.6..92255, on June 7, 2002.... petitioner was relyfng upon
a lïberal interpretation of his pleading, by the District Court.... whlch,
petitioner had submitted, based upon his very limited knowledge and
understanding of the law .
    While it is evident, (reflective of the record) that petitioner presented
four (4) issues in h1s Motion, for review.... however, sfnce the crux of his
Motion to vacate sentence, is centered around the Districtcourt 's Hadoptionl'
of the Magistrate Judge's report, that ''mis-enterpretated the 1aw'Q ...
pvtitioner, need not venture into a repetftious argument, that is not relevant
to the argument at hand.

                                   ARGUMENT IN SUPPORT
      The trial record reflects, that prior to submitting jury instructions to
the Court for evaluations and approval in compliance with existing 1aw....
attorneys for petitioner, Mr. Carl J. Mecke, and Mr. Terence M. Lennamon) had
engaged in a discussion with Mr. Orlando A. Prescott, (A.P.S.A) as to the
elements that were essential to proving a violation of in the indictment....
the record also seems to indicate that, the Court had taken part in the
discussion.
      A candid and scrutfnizing examination of the Npre-trial'' jury instructions
discussion, that was conducted between Judge Moreno, Mr . Orlando A . Prescott,
(A.U.S.A), Mr. Carl Joesph Mecke, and Mr. Terence Michael Lenamon, (defense
attorneys), prior to trial, reflects that:

                                              (4)
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 with legal legal substance of the discussfon was dfrected tovards outliningy
               clarlty, and total agreeoent- . . . what jury instructions vould be
  giveny as to thq defining law , surrounding the essential elewents
 t                                                                        that had
   o be proven by the goverooent . to establish petitioner's guflty beyond a
 reasonable doubt on havfng violated the Hobbs Act. The main concern vas what
 would be an approprfate jury instructions, to the jurors. in reference to the
 elewent pertaining to interstate cnmmerce, the discussion, clearly indicated
 that the instruction issue as to interstate cnmmerce had been discussed at somey
 earlier date, and was collectively ffnalfzed . . . . with b0th parties totally
 agreefngp
 ''          that the Court was to instruct the Jury that b0th parties had
 d stipulated'' that the enmmerce element had been wet, and there vas no
   isagreement as to that eleoent'o
 4     (See: Pages #-465. beginning at Lfne-6m thru page #-467 . endfng as Line-
 #: R- the Hpre-jury instruction'' transcript that's attached heretoy as Exhibit
   , of
      1).
 M    As is reflective of the pre-jury instruction discussion, dialogue, ludge
   oreno, relying upon the stipulation that was formulated and agreed to, by both
 partiesv... elected not to give any instructlon in relations to the Uthird
  element'' of the Hobbs Act, offense, as to interstate commerce .
 thi The decision made by Judge Moreno, not to instruct the jury, as to the
     rd element of the Hobbs Act, surrounding interstate commerce. . . . based upon
 the agreed stipulation of. b0th partfes, was plain error of constitutional
 proportion , in that:
                           only did Judge horeno elect to totally ignore the legal
 significance of the thfrd element to a Eobbs Act offenses which is the
 'stngular' most signlficantly s argumentative element, surrounding a Eobbs Act
 prosecution . because the third eleoent focuses strfctly upon the legal basis
 upon whfch federal jurisdictfon over a Hobbs Act offense fs solfdiffed.... Judge
 Moreno. also. fmproperly invaded the province of the jurym when he failed to
 instruct the jury as to the thfrd eleoent.... buty subsequently fnstructed the
 jurorsy that the third element of the charged criaem surroundfng interstate
 cnmmercem was not in dfsputey wherefore. the jurors only had to consider the
 first two(2) eleoents of the offense'o
 (See: Copy of Jury Instructions given by Judge Morenp, that's attached hereto).
      The legal crux of petitioner's argument, as to why the Civil Judgement
 that was rendered by the District Court, denying his 2255 -Motion.... was
 legally invalid and void, pursuant to Sectfon 60(b)(4). . . . is predicated upon
 the Herroneous procedural due process decisions'' that wer
                                                           e made by the Court,
 that deprived the Court of sublect matter jurisdiction of the Hobbs Act
 offense .
      The Court, relying upon an agreed stipulatlon          the prosecution and
 defense attorneysy made the erroneous decision to:
                                                   'Rcompletely delete the third
 elewent
 h        of the Robbs Act  Offense p out of the proof-elements equations (that
  ad to be proven by the governaent) which was the most signfficant      sfngular
 elewent of the three elementsm that were legally-requfred to be proven by the
 government. to establish a cra -osnal violation of the Hobbs Acts vas totally
 contrary to statutory procedural rulings.
      Alsop still relying upon the agreed stfpulation p the Court instructed
 the jury. that the stipulatfon was an agreewent reached between b0th parties
 that the third element vas not in dispute. . . .                               m
 (                                              wherein. indicating to the jury,
  with that instruction) that the thfrd eleointlhàd'been provenRo


                                       (5)
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       A candfd and scrutinizing review of the trial transcriot, beginning on
page //-465, at line //-6, and ending on page //-467, at line //-4, (whicb are
attached hereto) explicitly, reflects the erroneous decisions, that were made
by the Court, based upon the agreed stipulation.
       Howeverp it must be noted, that on page //-465, beginning at line //-6..,.
the exchange (Mr. Lenamon and Mr. Mecke) is very crucial to petitioner's
arguments:
       The Court: Should I tell the jurors that the commerce element has beeo
met?
       Mr. Lenaoon : Yes Sir.
       Mr. Mecke: No I think that is a questioo for the Jury.
     The Court; I thought you stipulated to it .
     lir. Mecke: We dfd, I'm sorry, 'that fs correct, I apologize.
     The Court: So, when I read that third element, what I should do , I mean ,
I can read what term comperce means, but I wlll also add Hthere has been no
disagreement and lt fs stipulated that, that third element bas been metl'.
     Mr. Prescott, (the federal prosecutor) cut-in at this point, to make s
suggestion as to lury instruction 12-7, to which the Court responded, then, went
on with the discussion surrounding the stipulation....
     The Court: Should I delete what the definition of commerce is, and simply
add this element, it is agreed that there is no dispute that the third element
has been proven , or do you want to read....
     Mr. Lenamon : I would prefer some term       using stipulation instead
prover.
     The Court: bm at is the difference?
       Mr. Lenamop: Well, proven means like they did prove          It was lust
agreed.
      The Court: Okay, HBoth sides agree thmt this third element is not in
dispute'l how does that suit the governmert?
      Mr. Prescott: The government concurs.
      The Court: The defense?
      Mr. Lenamos : Yess sir .
      The Court: Should I delete what the term comaerce means?
      Mr . Lenamon: That is up to the government, I don 't have a problem either
way .
      The Court: Whatever you want.
       Mr. Prescott: It csn be deleted, J
                                        -udge.
     The Court: So what I will do is, I will delete everything abovt commerce
after that, if you want me to , Is that what you wast me to do?
     Mr. Mecke: That is fine.
     The Court: From the government?
     Mr. Prescott: Yes, Judge.
     The Court: So, pcge-8 will no longer exfst, we wlll renumber the pages.

                                     M GD G W

       To solidify his argument, that the District Court (Judge Moreno) committed
nplain error'' in deleting the Hthird qlement'' of proving essential elements
requirement''..... it is only necessary to reflect back on the statutory language
that's set forth under 18y U.S.C.,91951(A)p that bighlights the essential
elements, required to be proven , to establish a violation of the Hobbs Act....
which, Judge Moreno, quite efficiently , referred to , during the instructions
to the jury, that consisted of the following:

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            ''Firsty there is a particular statutey ve refer to it as the Hobbs Act,
       and that is the section of the 1av that oakes it a federal crime for anyone in
       any way to obstruct cnmmerce by robbery.
            The defendant can be fouud guilty of that offensey only if a11 of the
       following facts are proved beyond a reasonable doubt'o                 '
            (1): That the defendant knowingly and willfully did take or obtained money
       or goods belonging to the business named in the indictment , from employees of
       those'businesses.../
            (2): That tbe defendant robbed; that is, took or obtained this money and
       tbese goods, against the will of such employees, by means of actual or
       threatened forcey violence, or fear of injury, whether immediately or in the
       future....                                            .
           And, (3)9 That the subject robbery had 'the natural effect of interfering
      with interstate commerce, Both sides agree that this third element of interstate
      commerce is not in dispute. So, the first two are the ones you have to
      consider. (See: page //-532, beginning at Line-8, and ending on page //-533, at
      Line-3).
           Taking into account the District Court's discussion with b0th parties, that
      resulted in deletion of the third V lement, and the subsequent lury instructions,
      petitioner asserts and states, that:
                                             'V en   Magistrate   Judge   Sorrentino. was
      called upon to çvaluate the merits bf the issues rafsed by petftioner fn his
      92255 motions the Magistrate became the sole factfinder. with legal authority
      to resolve some very troubling procedural questionsy surroundfng the Dfstrict
      Court's decisions that fmpacted petitiqner's convfction''.
           0ne of the most troublingu and compelling questions, that confronted
      Magistrate Sorrentino, that demanded'a resolution based strictly upon a rational
      determination, supported by existing legal precedent. . . was directed towards
      the D istrict Courtês decision , to delete the third element of the proof
      requirements, surrouhding the Hobbs Act offense.
& '        After having reviewed the tçanscript, in which the third element of the
      odfense, had become somewhat of a controversial discussion, that was resolved
      with the Court deleting th'
                                e third element.... Magistrate Judge Sorrentino's
      J
      tirst order of business, was to:
           HEstablish vith legal clarityy the legal precedenttsly set forth by Supreme
      Court, Eleventh Circuit, or other Circuitsp that the Dfstrict Court (Judge
      Moreno) had relied upons that gave the Court subject matter jurisdictional
      authorftyy to delete the third element of the statutory proof requirementss out
      of the charged Eobbs Act offense.... based solely upon an agreed stipulation y
      that vas for-zlated'betveen defense attorneys and the federal prosecutor- . .
      thaty' xade it legally eompelling. to instruct the juryy that they vere only
      required to consider twoy of the threey essentfal eleoentsy that vere
      statutorily required to convict petftfoner of having violated the Hobbs Actp
      pursuant to 18. U.S.C.s:1951(A)''?
           A scrutinizing review of the Report and Recommendations, submitted
      Magistrate Judge Sorrentino, reflects that:
                                                ''The analysis done by the Magfstratey
      based on the trial transcript, coopletely ignored the central point of focpsy
      vhich vas centered around the Dfgtrict Court's erroneous deletion of the third    .

      element.... fnsteadp the Magistrate ventured off into an insufficfency of the
      evidence argument (that vas not vhat petftioner had raised fn hfs Motfon)
      circumventing the argument raised''.



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          Petitioner assertsy that it is inconceivable, that Magistrate Judge
     Sorrentino, was not legally aware of such well known prïnciple of law that are
                                                                           ,
     totally contrary to the Dïstrict Court's decision to delete an essential element
     of an offense, that must be proven based solely upon an agreed stipulatïon .
          The Eleventh Clrcuit in a succession of casep , starting with Eagerton v s.
    Valuations Incu 698 F.2d 1115y1118y (11th Cirr 1983)... Love vs. Turlfngton
    733 F.2d 1562, 1564 (11th Cfr. 1984)... andy Fitzgerald vs. SeaBoard System. r.r.
                                                                                    .
    Incu 760 F.2d 1249, 1250 (11th C1r. 1985). in which the court stated that:
         ''Subject aatter Jurisdfcrion cannot be created or waived by the agreement
    of parties''.
         Several Yéars later, in Harris vs. United States. 149 F.3d 1308 (11th Cir.
    1998). the Court held that:
                               Jurisdictional defects cannot be stipulated to or
    procedurally defaulted'o
         Magistrate Judge Sorréntino, tried to characterfze petitioner's argument
    with the one raised in U.S. vs. Castleberry, 116 F.3d 1384 (11th Cir. 1997)....
    in which the movant claimed that the Court's instruction to the Jury was error,
    because the Court took the interstate commerce element away form the jury.
         While petitioner's argument may be similar to CastleberryVsp as to the
    interstate commerce element bei:g taken away form the jury during ïnstructiousy
    but the sioilarities ends at that point... the Ofacts''. that compelled
    petitipner to raise such an atguaent foT exceed the factual basis relied upon
    by Castleberry.
         There can be no reasonable denial, that Magistrate Sorrentino ,
    misinterpretated the legal substance of the issues raised by petitioner in his
    92255 Motion.... by failing to apply a Dliberal stapdardî' of review to his pro
    se required under the law.
         There is no denial, that Judge Moreno committed ''plain error'', by accepting
    and adopting, (in every aspect) the report and Recommendations submitted by
    Magistrate Judge Sorrentino.... wherein , the Court was fully aware, that the
    decision to delete the third element of the charged Hobbs Act offense, pursuant
    to 18, U.S.C..j1951(A).... was in ''direct confiict'' with' the statutory
    procedural requirements that governs the 'ldue process clause'' of the Fifth
    Ameùdment....
    H
                   that requires the prosecutor to prove. beyond a reasonable doubts
      Every element of the crimel', with which the defendant is charged.
          The.legal substance of the District Court's decision to delete the third
    element of the charged Hobbs Act, was so ''crucial'' to the legality of subject
    matter jurisdiction.... surrounding a robbery that interfered with interstate
    commerce, that, to alter the proof requirement, lessening the prosecution's
    burden of provin: interference with interstate commerce, by way of robbery... .
    based upon an,agreed stipulation, deprived the District Court of sublect matter
    lurisdiction.
         A scrutinïzing examination of the language set forth in the Hobbs Act,
    pursuant to 18, U.S.C.,j1951, surroundfng the HJurisdiétiénal, aspectblof that
    statute, seems to imply, that:
                                  HRobbery.  that  fnterferes wfth     interstate
    cnmmercey is a violation of federal 1aw.... and. because fnterference with
    interstate cnmmerce by robbery is a jurisdictional element that must be proven
    to the jury, by the governoent, beyond a reasonable doubt.... it cannot be
waiveds norm gtipulated to.... neither, can such a stipulation be equated to
a waiver of the right, to have the government prove it's casey as to subject
'

matter Jurisdiction41.


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     There is no legal authcrity, to which the District Court couldfve relied,
that was supportfve of the decisioo , that a.n Hagreed stfpulation''F gives
consent, to change the burdeo of pzoof requirements in a criminal prosecution .
     Thls is irrefutable, because the burden of proof, fs not the defendant's
legal obligation, to waive.
     In Victor vs. Nebraskay 5l1 U.S. 1, (1994), the Court stated thct!
                   -

                                                                      vtvhe due
process clauses requires the governoent to prove a crimlnal defendant's guilt
beyond a reasonable doubt, and trial Courts must avoid deffning reasonable
doubt, so ass to lead the Jury to convict on a lesser showingm than due process
requires''.
     A quick review of the erroneous legal snqlysis made b)r X agistrate Judge
Sorrentino, surrounding the sufficiency of the evidence.... which was not a
Hconcerning issue of focusf', rafsed by petitïoper iI7 his Motion for relief ,
pursuant to 92255.... clemrly reflects, thpt the Magistrate e'nalysis was:
                                                                       v'xothin g
wore than a smoke-screenyutillzed to divert focus away fro= the real fssue....
vhfch, was the incorrect decisfon oade by Judge horenty in deleting the third
eleaent of the Hobbs Act proof requïremert'o
     Since it is Hinevitablen' that the trial transcriot
                                                       .
                                                          has become the nmost
credible'' factual evidence, that's pertinent to petftioner's argum.lnt.... it
becomes evideot, that:
                     v'The findfng of fact andp conclusfon of lawa made by
hagistrate Judge Sorrentinoy to deny petitioner's Motfonm based upon
sufficiency of tbe evidence.... was the most ''obvious determnnation'', wade by
the Nagistrate.... that undermined the true legal essence of the petitioner's
2255 Motion'o
     Taking into account, the indisputable fact, reflective of the trial
transcrfpt, thst the District Court had irtstructed the jury, that bcth parties
had agreed and stipulated, that the commerce element had been met.... aade it
Ntotally un-necessaryl', for Magistrate Judge Sorrentino, to conduct p. legal
analysfs, as to the tripl evidence, surrounding the first two elements.
     The Supreme Court, in Sullivan vs. Louisana. 508 U.S. 275, 278. 282
(1993)1 supra, stated that:
                          HAn instructional error the incorrectiy describes
the burden of proof, will vitiate the jury's finding'o
     When revfewj.ng the Nvery strict'' proof requirements, that Congress fmposed
upon the government, to prove a violatioo of the Hobbs Act, pursuant to 18,
U.S.C.,91951(A).... which, was eloquently recited by both, Judge Moreno, and
Magistrate Judge Sorrentino, in their respective citations of that statue,
supportive of their individualized interpretations.... it's not difflcult to
conclude, that:                                                              .

              ''There are serious legal questions, as to why Magistrate Judge
Sorrentino would submlt , Report and Recoomendation , that completely fgnored
the oost relevant issue raised by petitioner, in hfs 2255 Kotion''?
     There are equal questioos of serfous legal concern, as to why:
                                                                   ''Judge Moreno
would readfly accept and adopt the Report and Recommendations of Mxgistrate
Judge Sorrentino, when it was clear, that petitioner had raised a valid
arguoent, as to the Court's subject matter jurisdictfonal authority. based upon
the Court's decfsion to delete the third element of the Hobbs Act proof
requirementsy that focused upon jurisdfctfon, ff interstate commerce was
affected.... that had    not been properly     addressed by Magistrate Judge
Sorrentino''?


                                       (9)
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     Petitioner has presented far more than the required factual evidence,
coupled with applfcable memorandum of 1aw.... to show that:
                                                          'lpursuant to Rule
60(b)(4), the cfvfl judgment rendered by Judge Moreno, based solely upon the
Report and Recommendations of hagistrate Judge Sorrentfno, is void, due to the
lack of sublect matter jurfsdiction, that was invalidated by Judge Moreno 's
decision to delete the third element of the Hobbs Act proof requfrement
elements, which is required to be proven, to legally solidify a violation of
the Hobbs Act, as a federal offense under 18, U.S.C., jl951(A)'Q
     The record reflects, that there are serious questions of legal concern,
as to the câ.
            vil judgement that was rendered, denying petitioner's 2255 M'otion
whfch was Jointly-rendered by Judge Moreno and Magistrate Judge Sorrentino....
therefore, petitioner respectfully requests that:
                                                ''Honorable Judge Norenoy and
Magistrate Judge Sorrentfno, b0th. rescue themselves form any further revfew
of petitioner's Motion for relief, pursuant to28, U.5.C..92255.... as ft
applfes to the revfew of this Rule 60(b)(4) challenge. to the cfvil Judgement
that denfed petitioner's 2255 Motion'o
     In sum, predicated upon the facts of this case Judge Moreno's adoption
of Magistrate Judge Sorrentino's Report and Recommendations, was plain error,
that legally compels the Judgemert Order Of Denial, to be vacated, as being
totally contrary to the existing standard of law .

                                    CONCLUSION

    Petitiooer respectfully request thâs Honorable Court, (Pnited States
District
     U   Court For The Southern District Of Florida , Miami Division) to vacate
the civil ludgement, that was rendered by Judge Moreno, denying petitioner's
2255 Motion.... and, apply the correct standard of law, in adludicating
petitioner's Motion.
     For this petitioner prays.
                                                        Re   ct ully   Su   'tted,

                                                        Sy ester Reïd //50013-004
           # fz                                        Petitioner-pro se
    Thisv ...day of May, 2013                          P .S. Penitentfary
                                                       P.O. Box 26030
                                                       Beaumont, Texas 77720-6030
                              CERTIFICATE 0F SERVICE
    1
      ,   Sylvester Reid, thisriji-da
                                  k
                                     y of May, 2013, did place in the Prison Legal
Mail System, a true and correct copy of this Motion snd mailed it to the
following parties:
                 Mr. Dustin M . Davis
                 Assistant U .S. Attorney
                  99 N.E.4th Street
                 Miaai. Florida 33132
    This xcf-
            jda
             q'
              jy of Mayp2013.



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                                 (                      g. j                              46s



          instruction. Any objections?
    2                    MR . PRESCOTT :          No r sir .

    3                     THE COURT :    Fr om the defense ?

    4                     MR . MECKE : No objection to that instructionr

    5        Your Honor .
    6                     rHE COURT: Should I tell the jurors that the

    7 'comm erce element h as b een m et ?

    8                     MR . LENAMON :       Yes , sir .
                          MR . MECKE :       No .       think t hat i s a que stion of


   10 fact for the jury .
   11                     THE COURT :        I th ought yott stipu lated t o it .

                          MR . MECKE :       W e d id .    I am sorry .      Th at is :

    13       correct .    No r that is correct .            I apologize .
    14                     THE COURT :       So r when I read that third element r

    15       what I should do , I m ean , I can read w hat the term commerce

    16       means , but I will also add ''there has been no disagrçement

    17        and it is stipulated that that third element has been met .''

    18                     M R . PR ESCOTT k        The only other point on t he

    19 proposed jury instructions number 7, Judger is the
    20        wording -- the word attempted .                  I know that

     21                     THE COURT:        These were given to me .
                                                                              $
     22                     MR . PRESCOTT :   .         know , Judge , I kngw , but this.

        23    was not merely an attempt .                 It was a complete: act .
        24                  THE COURT:         So, what I will do is I ry'will chang:
                                                                                  .



                                                                                           .    1
        25    '   this to ''the defendant robbed ,'' and I will also
                                                                  %
                                                                     -- should I t!        '    '




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   1     delete what the definition of commerce is and simply add

   2     this element , ''it is agreed that there is no dispute that

   3     t he third element has been p roven .'' Or do you w ant me to

   4     read --
   5               M R . LENAN ON :    I w ould pr efer som e term of using

   6     stipulation instead of proven .
   7                THE COURT :    What is the difference?
   8                MR . LENAMON :      Well , proven means like they did

   9 prove it. It was just agreed.
  10                THE COURT :       Okay .   ''Both sides agree that this

  11     third element is not in disputea'' How does that suit the

  12     Gov ernment ?
  13                MR . PRESCOTT :      T he Gov ernm ent concur s .

  14                THE CQURT :       The defen se ?

   15               MR . LCNAMON :      Yes, sir .
   16                THE COURT :      Should I delete what the term

   17     commerce mean s?
   18                MR . LENAMON :      That is up to the Government .      I

   19     don 't have a problem either way .
   20                THE COURT :      Whatever you all want .

   21                MR . PRESCOTT :      It can be deleted r Judge.

   22                THE COURT :       So w hat I will do is, I will delete

   23     everything about commerce after that, if you want me to .

    24    Is that what y ou w ant me to do ?

    25               MR . MECKE:       That is fine.

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                                                                       - - -   -   .- - -- - - .   = à.j-'4.


   1                      THE COURT :     F rom t he Gover nm ent?

   2                      MR . PRESCOTT :     Yes , Jud ge .
   3                      THE COURT :     So .    Page 8 wi ll no longer exi st .                    we

   4        will renumber the pages.
   5                      Aiding and abettinq.
   6                      MR . PRESCOTT : Well , Judge, going back p
   7        therefore , as to elem ent No .             that read s that th e

   8        defendant knowingly and willfully attempted to take.

   9                      THE COURT :     Took .

  10                      MR . PRESCOTT :        Did take.
   11                      rHE COURT:      You want me to say ''did takeo''                  Okay .


   12       Then robbed .
   13                      MR . PRESCOTT :       Correct .

   14                      ïHE COUR T :     Done .
   15                      MR . PRESCOTT :       Thank you , Judge .
   16                      THE COURT: On page 9, jury instruction number 8,

   17 aiding and abetting. Any objection?
   18                      MR . PRESCOTT :       No , sir .

    19                     THs counT :      From the defen se?

    20                      MR . LENAMON :       No .
       21                   MR. MECKE: No objection.                     *
                                                                        l
       22                   THE COURT :      And then number 9 , on lpages 11 and

       23     l2, the carrying and usinq a firearm with the vchanqes that
                                                            é;
                                                             :
                                                             f
                                                             .
                                                             î'

       24     I m ade .

       25                   The Government?                                                                    1
                                                                                                               r
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                                    Z       zz               *
                     (Jury out a: 11 :.
                                      15 a .m .J
     2               THE COURT :    Considerinq the past p ract ice , yau

     3   a11 could use a bathroom break .               I don 't nee d to , but

     4   think a11 of you probably do , especially the def endant .               so

     5   we will do that .

     6               (Recess taken .j

     7               (Jury in at 11 :45 a .m .j.
     8               THE COURT :   We hav e th e defendant , def en se

     9 counsel and Government counsel, and a1l of the jurors .
   1û                Please be seated .          We are calling in the order

   11    for your food .    It should be here as guick as they can

   12    bring it.

   13                Members of the jury , it is now my duty to
   14    instruct you on the rules of 1aw that you must f ollow and

   15    apply in deciding this case .               When   have finished r you

   16 will go to the jury room and begin your discussions -- what
   17    we call your deliberations .

   18                It w ill be your duty to decide whether the
                                                                 N
   19    Governm ent has proved beyond a r ea sonablex 'd oubt t he

   20    specific facts necessary to find the defendant guilty of
         h
   21 tb
       '
       j
       '
         e crimes charged in the indictment.
                                                  l
   22            You must make your decision only qn the basis of
   23    the testimony and other evidenee presented h:re during the
                                                                     ';
                                                   (.1.
                                                    j  ;
                                                       q                  ..

   24 trial; and you musv not be influenced in any it:Eway by either

   25 sympathy or prejudice for or against the defendant or the

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         Gov ernm en L .

     2                You mu st a1s o follow the l aw as I ex pl ain it to

     3   you , whether you agree w ith that law or not .                Yo u m u st

    4    follow all o f my instruetions as a w hole .              Y ou m ay not

    5    si ngl e ou t o r di sr e ga r d a ny o f t h e C ourt 's i n st r uct i Dn s on

    6    the law .
    7                 The indictment or formal charge against any

    8    defendant is not evidence of guilt .              Indeed , every

    9    defendant is presumed by the 1aw to be innocent .                   The law

   10    does not req uire a def endant to prov e hi s innocence or

   11    produce any evidence at all; and if the defendant elects

   12    not to testify r you should not consider that in any way

   13    during your deliberations .
   14                The Government has the burden of proving a

   15    defendant guilty beyond a reasonable doubt r and if it fails

   16    to do so , you must find the defendant not guilty .

   17                Thus, while the Government 's burden of proof is a

   18    strict or heavy burden, it is not necessary that the

   19    defendant 's guilt be proved beyond all possible doubt .                     It

   20    is only required that the Government 's proof exclude any

   21    reasonable doubt c oncerning the de fendant 's gui lt .

   22                 A rea sonab le d oubt i s a real doubt , b ased up on

   23    reason and common sensp after careful and impartial

   24    consideration of all of the evidence in the case .
   25                 Proof beyond qla reasonable doubt, therefore, is


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     l   p.
          1-o o f of s uc la a c o n v in c.
                                           i.n g c 11ar ac ter k laa t y o u w o u ld b e

     2   willing to r ely and act upon it without hesi tation i n th e

     3   most important o f your own affairs .                    you ar e conv i nced

     4   th at the defendant has been proven guilty b eyond a

     5   reasonable dou bt , say so .               you are not c onvinced , say

     6   so .
     7                As stated earlier, you must consider only the

     8   evidence that I have admitted in the case.                        The term

    9    evidence includes the testimony of the witnesses and the

   10    exhibits admitted in the record . Remember that anything

   11    that the lawyers say is not evidence in the case.                              It is

   12 your own recollection and interpretation of the evidence
   13    that controls.        What the lawyers say is not binding upon

   14    y ou .
   15                 Also, you should not assume from anything I may

   16    have said that I have any opinipn concerning any of the

   17    issues in this case.           Except for my instructions t o you on
   18    the law r you should disregard anything I may have said

   19 during the trial in arriving at your own zecision

   20    concerning the facts.
   21     )
          l'          In considering the evidence, you may mak e
          ï
                                                                           j        '
   22    deductions and reach conclusions which reaskn and common

   23    sense lead y ou t o make , and you should not be- con c erned
                                                                               ).
                                                     iF
                                                      1:
                                                       ,
                                                       '
                                                       *
   24    about whether the evidence is direct or circumstantial.

   25                 Direct evidence is the testimony of on e who


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         asser ts actual knowled ge       effect , such a s an ey ew itn ess .

                    circum st antial evidenc e is proof of a c hain of

     3   fact s and circum stances indicatin g that the de fend ant is

     4   either guilty or not guilty .

     5              The 1aw makes no distinction between the w eigh t

     6   you may assign to either direct or eircumstantial evidence.

     7              Now , in saying that you must consider a11 of the

     8   evidence , I do not mean that you must accept al1 of the

     9   evidence as true or accurate.       You should decide whether

    10   you believe what each witness had to say and how important

    11   that testimony was.     In making that decision , you may

    12   believe or disbelieve any witness, in whole or in part .

    13   Alsor the number of witnesses testifying concerning any

    14   particular dispute is not controlling . You may decide that

    15   the testimony of a smaller number of witnesses concerning
h   16   any fact in dispute is more believable than the testimony

    17   of a larger numb er of witnesses to the contrary .
    18              In deciding whether you believe or do not believe

    19   any witness, I suggest that you ask yourselves a few

    20   questions: Did the person impress you as one who was

    21   telling the truth?     Did he or she have any particular

    22   reason not to tell the truth?        Did the witness hav e a

    23   personal interest in the outcome of the case?            Did the

    24   w itness seem to have a good memory ?       Did t he w itn e ss hav e

    25   the opportunity and ab ility to ob serve accurately t he


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        things she       he keski fied about ?     Did the w itne ss appear

            understand the questi ons clearly and an sw er them

        directly?    Did the witness's testimony differ from the

        testimony ofl other witnesses?
                    You should also ask yourselves individually

    6   whether there was evidence tending to prove that the

        witness testified falsely concerning soa e important fact r

    8   or w hether there was evidenc: that at som e other t im e the

    9   witness said or did something or failed t o say or do

   10   something which was different from the testimony he or she

   11   gave before you during the trial.
   12               You should keep in mind, of course , that Ia simple

   13   mistake by a witness does not necessarily mean that the

   14   witness was not telling the truth, as he remembers it ,

   15   because peopl e naturally tend to forget som e thin g s or

   16   remember other things inaccurately .         Sor if a witn ess has

   17   made a misstatement r you need to consider whether that

   18   misstatement was simply an innocence lapse of memory or an

   19 intentional falsehood. And that may depelid on whether it
   20   has to do with an important fact , or with only an

   21 upi
       k mpor
         ' tant detail.
   22               When knowledge of a technical subaect matter

   23 might be helpful to the jury, a person having special
                                                 -   y)
                                                      L
                                                      .
                                                    i
                                                    -ri
                                                      :
                                                      .
                                                      ;
                                                      -.
   24   training or experience in that technical fieldr one who is

   25   called an expert witness, is permitted to state hi s opinion


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  1 concerning those tech nical m atters .
                          Merely b ecause    expert witness has exp tessed an

               opinionr however, does nok mean that you must accept that

  (            opinion.    The sama as with any other witness , it    up to

  5            you    decide whether to rely upon
                           Now   am going to define for you what we refer

               as the elements of the offense .
                           First , there is a particular statute , we refer to

               it as the Hobbs Act , and that is the section of the law

               that makes it a Federal crime for anyone in any way to

               ob struct comm erc e by robbery .
                           The defendant can be found guilty of that offense

               only if all of the following fact: are proved beyond a


                reasonable doubt :
                           First:    That the defendant knowingly and
                     willfully did take or obtained money or goods belonging

                     to the business named in the indictment from employees


                     of those businesses;
                          Second : That the defendant robbed ; thaE is, took

   20                 or obtained this money and these goodsr against the
                                                     .

   21                 will of such employees by means of actual or threatened i
      @
      22              force, riolence or fear of injuryr whsther immediately
                                                              ;
      '

      23              or in the future; and
      24
      !                      Third: That the subject robbery had the natural

      :25
        $j'            effect of interfering with interstate commerce.  '



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                                80th sides agr ee that this third elem enk

                   interstate comDerce          not        dispute .            the f ir st kwo

           3       are the ones you have to consider .

           4                   The indictulent also charges violations of whak we

           5       refer       as Section 1 of Title                 which sometimes w e eall

           6       that aiding and abetting. And that particular seetion

                   the law says :
           8                   Whoever aids, abets: counsels, commands, induces

           9                  procures an offense against the United States is

       10                  Punishable as a principal .

       11                       The guilt of a defendant in a criminal case may
       12          be proved without evidence that he personally did every act

       13          involved in the commission of the crime charged .                       The law
       14          recognizes that r ordinarily , anything that a person can do

       15          for himself may also be accomplished through direction of

       ï6 another person as an agent? or by acting together with or
       17 under the direction of another person or persons in a joint
           :

       18          effort .                                                                          .

       '
        !
       19  '
                                                                            .
                                                                            %
                                So, if the acts or conduct of ah agenk r employee
        h


       20
       !           or other associate of the defendant are willfully directed

       21
       1 dw
          ) authorized by the defendant,                              if the dyfendant aids
               )    :k.                              t
       22 and abets another person by willfully joining
           .
            '                                           together with
               '                                                                :
                                                                                !
                                                                                .
           !
           i.)
             ,
                                   i
                             the commission of a crime, thyn the law
           23
            l!
             .     that person      n                     :
                                                          k$t
                                                            (,
                                                             J- '
           24
           !  holds the defendant responsible for the condâct of that
         l other personr just as though the defendant had engaged in
       :25
         k
       . .

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               J                        .       .
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